                     Case 2:02-cr-00086-JAM Document 78 Filed 11/29/11 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
             CHRISTOBAL MOODY
                      (Defendant’s Name)                                  Criminal Number: 2:02CR00086 -01


                                                                          MICHAEL PETRIK, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charge 1 as alleged in the violation petition filed on 12/30/2010 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes supervision heretofore ordered on 8/27/2002 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.




         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 11/15/2011
                                                                 Date of Im position of Sentence

                                                                 /s/ John A. Mendez
                                                                 Signature of Judicial Officer

                                                                 JOHN A. M ENDEZ, United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 11/29/2011
                                                                 Date
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AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:02CR00086 -01                                                    Judgment - Page 2 of 3
DEFENDANT:                  CHRISTOBAL MOODY

                                                       ADDITIONAL VIOLATION
                                                                              Date Violation
Violation Num ber                    Nature of Violation                      Concluded

1                                    NEW LAW VIOLATION
                                     POSSESSION FOR SALE OF
                                     METHAMPHETAMINE                          12/29/2010
                    Case 2:02-cr-00086-JAM Document 78 Filed 11/29/11 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:02CR00086 -01                                                               Judgment - Page 3 of 3
DEFENDANT:                 CHRISTOBAL MOODY



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 44 MONTHS .

NO SUPERVISED RELEASE TO FOLLOW.


[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated at Leavenworth, Kansas, but only insofar as this
         accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
